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PROB 12A
(7/93)

                               United States District Court
                                            for
                                  District of New Jersey
                          Report on Offender Under Supervision

Name of Offender: Marque Deshard Thomas                                                 Cr.: 18-00496-001
                                                                                       PACTS #: 3262423

Name of Sentencing Judicial Officer:    THE HONORABLE CLAIRE C. CECCHI
                                        UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 12/08/2016

Original Offense:   Count One: Possession of a Counterfeit Obligation of the United States, 18 .U.S.C. §§
                    472 and 2

Original Sentence: 33 months imprisonment, 36 months supervised release

Special Conditions: Restitution, Search/Seizure, Drug and Alcohol Testing/Treatment, New Debt
Restrictions

Type of Supervision: Supervised Release                        Date Supervision Commenced: 07/20/2018

                                 NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance

  1                    The offender has violated the mandatory supervision condition which states
                       'You must refrain from any unlawful use of a controlled substance. You
                       must submit to one drug test within 15 days of release from imprisonment
                       and at least two periodic drug tests thereafter, as determined by the Court.'
                       On August 5, 2020, the undersigned conducted an unscheduled home contact
                       with Thomas. He tested positive for marijuana and admitted to using the
                       substance. Thomas signed an Admission of Drug Use form.


U.S. Probation Officer Action:
The U.S. Probation Office counseled the offender regarding his drug usage. We discussed the short term
and long term consequences of him continuing drug use. The U.S. Probation Office is recommending that
no action be taken at this time. We will continue to counsel Thomas on making positive choices in his life,
and random drug testing will be increased.




                                                         Respectfully submitted,
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                                                                                   Marque Deshard Thomas


                                                        SUSAN M. SMALLEY, Chief
                                                        U.S. Probation Officer


                                                           Laura M. Kellogg
                                                         By: LAURA M. KELLOGG
                                                             U.S. Probation Officer

/ lmk

APPROVED:



Sharon O’Brien         October 30, 2020
SHARON O'BRIEN                     Date
Supervising U.S. Probation Officer

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

X No Formal Court Action to be Taken at This Time (as recommended by the Probation Office)
   Submit a Request for Modifying the Conditions or Term of Supervision
   Submit a Request for Warrant or Summons
   Other



                                                                Signature of Judicial Officer


                                                                October 30, 2020
                                                                           Date
